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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 ISAIAS PINEDA and ALICE CLARK,                  §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §                 Civil Action No. 4:22-cv-1726
                                                 §
 MIDLAND MORTGAGE, A DIVISION                    §
 OF MIDFIRST BANK and BARRETT                    §
 DAFFIN FRAPPIER TURNER &                        §
 ENGEL, LLP,                                     §
                                                 §
        Defendants.                              §

                           JOINT STIPULATION OF DISMISSAL

       Plaintiffs Isaias Pineda and Alice Clark and Defendants Midland Mortgage, a Division of

MidFirst Bank and Barrett Daffin Frappier Turner & Engel, LLP hereby stipulate and agree that

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims and causes of action asserted

or that could have been asserted by Plaintiffs against Defendants are hereby dismissed.

                                              Respectfully submitted,

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